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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                    Chapter 11
FTX TRADING LTD, ET AL.,
                                                    Case No. 22-11068 (JTD)
                         Debtors.

ALAMEDA RESEARCH LTD AND FTX
TRADING LTD.,

                         Plaintiffs,
v.                                                  Adv. Proc. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                         Defendants.


                        SPECIAL LIMITED NOTICE OF APPEARANCE

         Please take notice that Defendant Lumen Bioscience Inc. (“Lumen”), hereby makes this

special limited appearance through counsel, Stephanie J. Slater, and Fox Rothschild LLP.

Defendant hereby requests that notices and pleadings, except original process, be addressed to its

attorneys as follows:

         Stephanie Slater                           Maria A. Milano (Pro Hac Vice to be filed)
         Fox Rothschild LLP                         Fox Rothschild LLP
         919 North Market Street, Suite 300         1001 4th Ave. Suite 4500
         Wilmington, DE 19899                       Seattle, WA 98154
         Telephone: (302) 654-7444                  Telephone: (206) 389-1752
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Lumen does not waive service of process, as was purported to be made per Certificate of Service

(Docket No. 4).



Dated: August 18, 2023                          FOX ROTHSCHILD LLP

                                                /s/ Stephanie J. Slater
                                                Stephanie Slater (DE Bar No. 6922)
                                                919 North Market Street, Suite 300
                                                Wilmington, DE 19899
                                                Telephone: (302) 654-7444
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                                                -and-

                                                Maria A. Milano (Pro Hac Vice to be
                                                filed)
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 18, 2023, a true and correct copy of the foregoing
Special Limited Notice of Appearance was served via the Electronic Case Filing System for the
United States Bankruptcy Court for the District of Delaware to all parties registered to receive
such notice.


                                                            /s/ Stephanie J. Slater
                                                          Stephanie J. Slater (DE Bar No. 6922)




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